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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

       v.                                                                    24-00676-VEC

ALON ALEXANDER, OREN
ALEXANDER, and TAL ALEXANDER,

      Defendants.
_________________________________/

     MEMORANDUM OF LAW IN SUPPORT OF OMNIBUS MOTION TO SUPPRESS

       Oren Alexander and Alon Alexander, through undersigned counsel, file this omnibus motion

to suppress: (1) pretrial identification based on suggestive photo lineup; (2) evidentiary fruits of

search warrants issued to Meta and Raya on August 29, 2024; (3) evidentiary fruits of live and

historical cell site locator information obtained by warrant; and (4) evidentiary fruits of search

warrants issued to defendants’ residences. Oren and Alon adopt and incorporate arguments raised

in Tal’s motion to suppress the Meta warrant and motion to suppress suggestive identification. The

defendants request an evidentiary hearing on this motion,1 and state the following additional grounds

in support of this motion:

I.     Suggestive pretrial identification

       Defendants move to suppress any eyewitness identifications in this case that are unreliable

as the product of impermissible suggestiveness due to the photobook procedure used by the

government. Government actors who have been investigating for months have conceded they are

unable to distinguish between Oren and Alon. See DE 37 at 20 (government counsel stating at

detention hearing “We’re talking about a video where I believe it’s Oren Alexander frankly, they’re


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       Warrant applications and warrants are attached to a Declaration of Counsel that will be
contemporaneously filed in support of defendants’ motion to suppress.
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twins, I’ve never met them    but one of these very stone sober twins sets up a tripod”); DE:20-2 at

37 (agent presented by government detention hearing, when presented with a photo of one of the

twins, could not identify who it was; testified “[i]t appears to resemble one of the twins”).

       This makes the substantial likelihood of irreparable misidentification that much higher, and

the need for reliable eyewitness identification in court that much more significant.            The

suggestiveness in handing witnesses a show-up photobook containing both brothers was

unnecessarily suggestive in light of the similarities between the two brothers.

       On the basis of the authorities cited in the related motion filed by Tal Alexander and based

on the totality of the circumstances in this case, there is a need for an evidentiary hearing to

determine the extent of the suggestiveness and its impact on the present memory and testimony of

the witness. The circumstances in this case give rise to a substantial likelihood of irreparable

misidentification, due to many factors including but not limited to the twins’ resemblance and their

placement in the photobooks, the presence of plaintiff witnesses’ attorneys at the FBI interviews

during the photobook process, and the other factors referenced in the motion filed by Tal Alexander.

II.    Evidentiary fruits of the Meta and Raya searches must be suppressed.

       Defendants adopt and incorporate arguments raised in their motion to suppress the iCloud

warrant, the first warrant in this case. The allegations of the iCloud warrant application, which as

the defendants have explained were premised on mistaken, misleading, and materially incomplete

recitations, formed the principal basis for the government’s application seeking the Meta and Raya

warrants which were issued on Aug. 29, 2024.

       These warrants mimicked the facially-defective, overbroad iCloud warrants, but included a

new subject offense of obstruction of justice under 18 U.S.C. § 1591(d), as to which the agent


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claimed probable cause to search. The affidavit, by                   made no discernable attempt to

explain why there was probable cause as to such offense, warranting suppression. To the extent that

the claim of obstruction rested on the review of privileged material, and given that no other basis for

probable cause was stated, suppression is mandatory. The defendants have separately filed a motion

requesting an evidentiary hearing to determine the extent of the impermissible review of privileged

material.

       Among the most significant of the additional material misstatements or omissions in the

warrant applications is



                                    This false claim arose from a complete failure to investigate or

speak with this supposed victim, who has never actually made that claim and who continued

unabated with her ongoing social relationship with the Alexanders before and after the hypothetical,

multiple-partner event.

       The double impact of the lie is that it also undermines the

        Any investigation would have disproved it. It shows an organized effort to fail to test

uncorroborated hearsay allegations

       The Meta and Raya warrants followed the iCloud warrant’s issuance; and the government

seized privileged material in executing that iCloud warrant; defendants have described this violation

in a separate request for an evidentiary hearing. This suggests that the additional allegations in the

Meta and Raya warrants could have resulted from the government’s violation of the attorney-client

privilege, see iCloud Motion to Suppress; Motion for a Hearing Regarding Privilege Violation. A

hearing to determine the extent this warrant relied on improperly seized privileged material is


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critical. The warrant did not establish probable cause to view the messages of anyone either

gentleman ever spoke to on a dating app or on Facebook or Instagram. The searches were

unconstitutional and their fruits must be suppressed.

III.     Location data

         Although there is no showing that the government intends to use evidence of location data

at trial, and may only have used it to further it facially-defective warrant practice, the false claim that

there was a need for cell site locator information throughout 2024 contributes to the showing of bad

faith.

IV.      Searches of Houses

         Improper privilege violation, compounded by the fruits of the prior illegal search warrants,

were employed to pursue searches for evidence of obstruction for which probable cause was lacking.

The execution of the house warrants exceeded the permissible scope and suffered from the prior

Franks violation.

                                              Conclusion

         WHEREFORE, Defendants Oren and Alon Alexander request that the Court grant their

motion to suppress and grant their request for an evidentiary hearing on the motion.

                                        Respectfully submitted,

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